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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                              CR 14–27–M–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 RICHARD PITTS,

                      Defendant.



      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on January 27, 2015. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Richard Pitts’ guilty plea after


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Pitts appeared before him pursuant to Federal Rule of Criminal Procedure 11, and

entered a plea of guilty to one count of conspiracy to distribute child pornography

in violation of 18 U.S.C. §§ 2252A(a)(2) as set forth in the Superseding

Information. The Defendant further agrees to the forfeiture allegation set forth in

the Superseding Information.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

238), and I adopt them in full, including the recommendation to defer acceptance

of the Plea Agreement until sentencing when the Court will have reviewed the

Plea Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Richard Pitts’ motion to change plea

(Doc. 120) is GRANTED and Richard Pitts is adjudged guilty as charged in the

Superseding Information.

      DATED this 13th day of February, 2015.




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